      Case 3:09-cr-00188-JAG-JA       Document 75    Filed 07/31/09   Page 1 of 7



 1                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
          Plaintiff
 5
          v.                                              CRIMINAL 09-0188 (JAG)
 6
 7        [2] EDGARD EFRAÍN ARISTUD-
          MAYSSONETT,
 8
          Defendant
 9
10                  MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
                 RE: RULE 11(c)(1)(A) & (C) PROCEEDINGS (PLEA OF GUILTY)
11
     I.        Personal Background
12
               On May 28, 2009, Edgard Efraín Aristud-Mayssonett, the defendant herein,
13
     was charged in a three-count indictment. The defendant agrees to plea guilty to
14
     count one of the indictment.
15
               Count one charges the defendant with aiding and abetting by another, did
16
     knowingly possess a stolen firearm, that is, a Glock pistol, caliber .45, bearing serial
17
     number FBS-065, that had been shipped and transported in interstate commerce,
18
     knowing and having reasonable cause to believe the firearm was stolen, in violation
19
     of 18 U.S.C. § 922(j) and § 2.
20
               Pursuant to count three, 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the
21
     defendant stipulates, acknowledges and agrees to forfeit to the United States all
22
     right, title, and interest in any firearms and ammunition involved or used in
23
     furtherance of the commission of the offense enumerated in count one.
24
     II.       Consent to Proceed Before a Magistrate Judge
25
               On July 29, 2009, while assisted by Teodoro Méndez, Esq., the defendant, by
26
     consent, appeared before me in order to change his previous not guilty plea to a plea
27
     of guilty as to count one of the indictment.
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      Case 3:09-cr-00188-JAG-JA      Document 75    Filed 07/31/09   Page 2 of 7



 1   CRIMINAL 09-0188 (JAG)                     2
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 3
            In open court the defendant was questioned as to the purpose of the hearing
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     being held. The defendant responded that the purpose of the hearing was to plead
 5
     guilty. The defendant was advised of his right to have all proceedings, including the
 6
     change of plea hearing, before a United States district judge. Defendant was given
 7
     notice of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries
 8
     were to be conducted under oath and that it was expected that his answers would
 9
     be truthful (he was also explained that the consequences of lying under oath could
10
     lead to a perjury charge); and (c) his right to have the change of plea proceedings
11
     presided over by a district judge instead of a magistrate judge. The defendant was
12
     also explained the differences between the appointment and functions of the two.
13
     The defendant consent to proceed before this magistrate judge.
14
     III.   Proceedings Under Rule 11, Federal Rules of Criminal Procedure
15
            A. Compliance With Requirements Rule 11(c)(1)
16
                   Rule 11 of the Federal Rules of Criminal Procedure governs the
17          acceptance of guilty pleas to federal criminal violations. Pursuant to
            Rule 11, in order for a plea of guilty to constitute a valid waiver of the
18          defendant’s right to trial, guilty pleas must be knowing and voluntary:
            “Rule 11 was intended to ensure that a defendant who pleads guilty
19          does so with an ‘understanding of the nature of the charge and
            consequences of his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4
20          (1st Cir. 1995) (quoting McCarthy v. United States, 394 U.S. 459, 467
            (1969)). [There are three core concerns in these proceedings]: 1)
21          absence of coercion; 2) understanding of the charges; and 3) knowledge
            of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
22          F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st
            Cir. 1991)).
23
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
24
            In response to further questioning, defendant was explained and he
25
     understood that if convicted on count one, the penalty is a term of imprisonment of
26
     not more than 10 years and a term of supervised release of not more than three
27
     years. The court may also impose a fine not to exceed $250,000.
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      Case 3:09-cr-00188-JAG-JA     Document 75    Filed 07/31/09   Page 3 of 7



 1   CRIMINAL 09-0188 (JAG)                    3
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 3
           The defendant agrees to pay a special a mandatory penalty assessment of $100
 4
     per count of conviction, to be deposited in the Crime Victim Fund, pursuant to 18
 5
     U.S.C. § 3013.
 6
           Defendant acknowledges that the court may impose a sentence in accordance
 7
     with the applicable provisions of the Sentencing Guidelines, 18 U.S.C. § 3551 et seq.,
 8
     which are now advisory. The defendant acknowledges and is aware that parole has
 9
     been abolished and the imposition of sentence may not be suspended. The defendant
10
     is also aware that, pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), the
11
     court may accept or reject the plea agreement, or may defer its decision as to its
12
     acceptance or rejection until it has considered the presentence report. If the court
13
     rejects the plea agreement, the court shall, on the record, inform the parties of this
14
     fact, and afford the defendant an opportunity to withdraw the guilty plea and advise
15
     the defendant that if the defendant persists in a guilty plea, the disposition of the
16
     case may be less favorable to the defendant than that contemplated in the plea
17
     agreement. In addition, as part of the terms and conditions of this plea agreement,
18
     the parties agree that, should the court reject the plea agreement, the United States
19
     reserves the right to withdraw from its obligations under the same.
20
           Defendant was explained what the supervised release term means. It was
21
     emphasized that cooperation with the United States Probation officer would assist
22
     the court in reaching a fair sentence.
23
           The defendant is aware that the court may order him to pay a fine sufficient
24
     to reimburse the government for the costs of any imprisonment, probation or
25
     supervised release. The defendant agrees to produce complete information regarding
26
     all restitution victims and agrees to execute a financial statement to the United
27
     States.
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      Case 3:09-cr-00188-JAG-JA     Document 75     Filed 07/31/09   Page 4 of 7



 1   CRIMINAL 09-0188 (JAG)                    4
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 3
           Emphasis was made on the fact that at this stage, no prediction or promises
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     as to the sentence to be imposed could be made by anyone. Defendant responded to
 5
     questions in that no promises, threats, inducements or predictions as to what
 6
     sentence will be imposed have been made to him.
 7
           B. Admonishment of Constitutional Rights
 8
           To assure defendant’s understanding and awareness of his rights, defendant
 9
     was advised of his right:
10
           1.   To remain silent at trial and be presumed innocent, since it is the
11
     government who has the burden of proving his guilt beyond a reasonable doubt.
12
           2.   To testify or not to testify at trial, and that no comment could be made by
13
     the prosecution in relation to his decision not to testify.
14
           3.   To a speedy trial before a district judge and a jury, at which he would be
15
     entitled to see and cross examine the government witnesses, present evidence on his
16
     behalf, and challenge the government’s evidence.
17
           4.   To have a unanimous verdict rendered by a jury of twelve persons which
18
     would have to be convinced of defendant’s guilt beyond a reasonable doubt by means
19
     of competent evidence.
20
           5.   To use the subpoena power of the court to compel the attendance of
21
     witnesses.
22
           Upon listening to the defendant’s responses, observing his demeanor and his
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     speaking with his attorney, that to the best of counsel’s belief defendant had fully
24
     understood his rights, it is determined that defendant is aware of his constitutional
25
     rights.
26
           C. Consequences of Pleading Guilty
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      Case 3:09-cr-00188-JAG-JA    Document 75    Filed 07/31/09   Page 5 of 7



 1   CRIMINAL 09-0188 (JAG)                   5
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           Upon advising defendant of his constitutional rights, he was further advised
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     of the consequences of pleading guilty. Specifically, defendant was advised that by
 5
     pleading guilty and upon having his guilty plea accepted by the court, he will be
 6
     giving up the above rights and would be convicted solely on his statement that he is
 7
     guilty.
 8
           Furthermore, the defendant was admonished of the fact that when he were
 9
     under supervised release, and upon violating the conditions of such release, that
10
     privilege could be revoked and he could be required to serve an additional term of
11
     imprisonment.
12
           D. Plea Agreement
13
           The parties have entered into a written plea agreement that, upon being signed
14
     by the government, defense attorney and defendant, was filed and made part of the
15
     record. Defendant was clearly warned and recognized having understood that:
16
           1.   The plea agreement is binding upon the sentencing court if approved.
17
           2.   The plea agreement is an “agreement” between the defendant, defense
18
     attorney and the attorney for the government which is presented as a
19
     recommendation to the court in regards to the applicable sentencing adjustments
20
     and guidelines, which are advisory.
21
           3.   The agreement provides a sentencing recommendation and/or anticipated
22
     sentencing guideline computation, that can be either accepted or rejected by the
23
     sentencing court.
24
           4.   In spite of the plea agreement and any sentencing recommendation
25
     contained therein, the sentencing court retains full discretion to reject such plea
26
     agreement.
27
           Defendant acknowledged having understood this explanation.
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      Case 3:09-cr-00188-JAG-JA     Document 75       Filed 07/31/09   Page 6 of 7



 1   CRIMINAL 09-0188 (JAG)                    6
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           E. Government's Evidence (Basis in Fact)
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           The government presented a proffer of its evidence with which the defendant
 5
     basically concurred.
 6
           Accordingly, it is determined that there is a basis in fact and evidence to
 7
     establish all elements of the offense charged.
 8
           F. Voluntariness
 9
           The defendant accepted that no leniency had been promised, no threats had
10
     been made to induce him to plead guilty and that he did not feel pressured to plead
11
     guilty. He came to the hearing for the purpose of pleading guilty and listened
12
     attentively as the prosecutor outlined the facts which it would prove if the case had
13
     proceeded to trial.
14
     IV.   Conclusion
15
           The defendant, by consent, has appeared before me pursuant to Rule 11,
16
     Federal Rules of Criminal Procedure, and has entered a plea of guilty as to count one
17
     of the indictment.
18
           After cautioning and examining the defendant under oath and in open court,
19
     concerning each of the subject matters mentioned in Rule 11, as described in the
20
     preceding sections, I find that the defendant Edgard Efraín Aristud-Mayssonett, is
21
     competent to enter this guilty plea, is aware of the nature of the offense charged and
22
     the maximum statutory penalties that the same carries, understands that the charge
23
     is supported by the government’s evidence, has admitted to every element of the
24
     offense charged, and has done so in an intelligent and voluntary manner with full
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     knowledge of the consequences of his guilty plea.
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27
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      Case 3:09-cr-00188-JAG-JA      Document 75     Filed 07/31/09   Page 7 of 7



 1   CRIMINAL 09-0188 (JAG)                     7
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           Therefore, I recommend that the court accept the guilty plea of the defendant
 4
     and that the defendant be adjudged guilty as to count one of the indictment. Upon
 5
     sentencing, the United States will move to dismiss counts two of the indictment.
 6
           This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B)
 7
     and Rule 72(d) of the Local Rules of Court. Any objections to the same must be
 8
     specific and must be filed with the Clerk of Court within five (5) days of its receipt.
 9
     Rule 510.1, Local Rules of Court; Fed. R. Civ. P. 72(b). Failure to timely file specific
10
     objections to the report and recommendation is a waiver of the right to review by the
11
     district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
12
           At San Juan, Puerto Rico, this 31st day of July, 2009.
13
14                                                S/ JUSTO ARENAS
                                         Chief United States Magistrate Judge
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